                  Case 2:20-cv-00417-RAJ Document 162 Filed 03/13/23 Page 1 of 9




 1                                                                            The Honorable Richard A. Jones
 2

 3

 4

 5

 6

 7                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTICT OF WASHINGTON
 8                                              AT SEATTLE

 9
         WILD FISH CONSERVANCY,
10

11                                  Plaintiff,             Case No. 2:20-cv-00417-RAJ-MLP

12       vs.                                               AMICI CURIAE BRIEF OF ALASKA
                                                           CONGRESSIONAL DELEGATION IN
13       SCOTT RUMSEY, et al.,                             SUPPORT OF DEFENDANTS AND
                                                           INTERVENOR-DEFENDANTS
14                                  Defendants,
15
         and
16
         ALASKA TROLLERS ASSOCIATION
17       and STATE OF ALASKA,
18
                               Intervenor-Defendants.
19

20

21                                    I.         INTEREST OF AMICI CURIAE 1

22              The Amici Curiae are Alaska’s members of the United States Congress. The Amici share

23   a bipartisan interest in ensuring that the nation meets its treaty obligations and protects and

24   promotes the Pacific Ocean’s shared environmental resources in a fair and responsible manner that

25   does not needlessly disrupt regional fisheries. Amici submit this brief to emphasize their interests

26   1
      Amici state that no counsel for a party authored this brief in whole or in part, and no person made a monetary
     contribution to the brief’s preparation or submission.


         Amici Br. of Alaska Cong. Delegation - 1
         No. 2:20-cv-00417-RAJ-MLP
                                                                                  1050 Thomas Jefferson Street, NW
                                                                                  Washington, DC 20007
                                                                                  (202) 298-1800
                  Case 2:20-cv-00417-RAJ Document 162 Filed 03/13/23 Page 2 of 9




 1   in the faithful administration of the carefully balanced policy agreements in the Pacific Salmon

 2   Treaty (“Treaty”) and to stress the potential impact this Court’s decision will have on those

 3   interests.

 4                                  II.      BACKGROUND AND SUMMARY 2
 5              The Treaty represents decades of international collaboration between the United States and
 6   Canada to manage the complexities of Pacific salmon fisheries sustainably, responsibly, and in a
 7   manner that mitigates the impacts of those Treaty-protected rights on endangered species. Dkt.
 8   144 at 8 (describing U.S. interests and objectives); Dkt. 43-1 at 610 (treaty principles). 3 At the
 9   request of the U.S. Pacific Salmon Commissioners, 4 Dkt. 133-4 at 4, Congress has allocated
10   millions of dollars to meet the United States’ obligations under the Treaty, including providing
11   funds necessary to implement mitigation and conservation programs. Id.
12              Plaintiff, Wild Fish Conservancy, seeks to halt two components of domestic Treaty
13   implementation that, together, are vital to the success of the Treaty’s negotiated approach to
14   management: (1) the 2019 Biological Opinion’s (“BiOp”) incidental take statement (“ITS”) for
15   the Southeast Alaska (“SEAK”) salmon troll fishery, which allows that fishery to continue
16   operating under limits set by the Treaty; and (2) the prey increase program, which helps
17   incrementally enhance a food source of Southeast Resident Killer Whales (“SRKW”) while
18   mitigating Treaty and other fishery impacts. The Magistrate Judge has issued a Report and
19   Recommendation (“R&R”) recognizing that the prey increase program Plaintiff seeks to vacate is
20   working; however, it ignores that mitigation when recommending vacatur of the ITS.
21

22
     2
      Because the procedural background of this litigation is extensively detailed in the parties’ briefing and the Magistrate
23   Judge’s Report and Recommendation, it is not repeated here except as necessary to support this brief. The Amici also
     agree with Defendants’ descriptions of the applicable standards of review.
24   3
         Page numbers refer to the PDF, not the underlying document.
25   4
       The Pacific Salmon Commission is the body formed by the governments of Canada and the United States to
     implement the Treaty. The Pacific Salmon Commission is a 16-person body with four commissioners and four
26   alternates from each country representing the interests of commercial and recreational fisheries as well as federal,
     state, and tribal governments. Dkt. 43-4 at 3.


         Amici Br. of Alaska Cong. Delegation - 2
         No. 2:20-cv-00417-RAJ-MLP
                                                                                        1050 Thomas Jefferson Street, NW
                                                                                        Washington, DC 20007
                                                                                        (202) 298-1800
               Case 2:20-cv-00417-RAJ Document 162 Filed 03/13/23 Page 3 of 9




 1                                               III.   ARGUMENT

 2           The recommendation in the R&R to vacate the ITS is inconsistent with the Magistrate

 3   Judge’s own findings, improperly balances the relevant interests and legal authorities, and ignores

 4   more pragmatic and appropriate judicial actions. Specifically, the R&R recognizes that the prey

 5   increase program Plaintiff seeks to vacate is working, yet ignores the essential mitigation of fishery

 6   impacts when recommending vacatur of the ITS. Plaintiff’s proposed remedy confuses the

 7   applicable balancing test and ignores that, regardless of what occurs on remand, the nation’s Treaty

 8   obligations will remain unchanged. If this Court enjoins or vacates either of the programs at issue,
 9   it will undo the progress Congress has made in conserving endangered species and promoting
10   sustainable fisheries—making remand without vacatur or vacatur held in abeyance the most
11   appropriate judicial action.
12           A.      This Court Should Affirm No Vacatur of the Prey Increase Program.
13           In seeking vacatur and enjoinment of the prey increase program, Plaintiff seeks a remedy
14   that would jeopardize the success of that program and endanger the very species Plaintiff claims
15   it wants to protect. The primary goal of the prey increase program is to provide a four to five
16   percent increase in prey available for SRKW. Dkt. 144 at 11; Dkt. 133-3 at 10-11. Two years ago,
17   the Magistrate Judge found that the program was uncertain, indefinite, and not subject to agency
18   control, Dkt. 111 at 33, but now recognizes that is no longer the case, Dtk. 144 at 31. Congress
19   funds the prey increase program every year with an understanding that the program will both
20   increase prey abundance and enable certain Alaska and Pacific Northwest fisheries to continue,
21   albeit at a reduced level. Given this understanding, Congress is on track to fulfill its commitment
22   to funding the mitigation called for in the 2019 BiOp. Id. at 12.
23           Disrupting the prey increase program now, after careful and deliberate balancing of
24   conservation and allocation interests through the extensive Treaty process, would reverse much of
25   the recognized progress and endanger the wildlife Congress intended to conserve through the
26   Treaty’s mitigation and conservation programs. As the R&R concludes, if the program is vacated,


      Amici Br. of Alaska Cong. Delegation - 3
      No. 2:20-cv-00417-RAJ-MLP
                                                                           1050 Thomas Jefferson Street, NW
                                                                           Washington, DC 20007
                                                                           (202) 298-1800
               Case 2:20-cv-00417-RAJ Document 162 Filed 03/13/23 Page 4 of 9




 1   “hatchery operators would likely not spawn addition[al] adult fish next fall to provide increased

 2   prey to SRKW.” Dkt. 144 at 32; Dkt. 133-3 at 5. Hatcheries might also have to release juvenile

 3   fish early and without tags that allow for monitoring and managing genetic risk. Dkt. 133-3 at 5-

 4   6. This makes them less likely to survive and serve as a food source for SRKWs, and potentially

 5   poses a greater risk to endangered species of Chinook salmon. Id.; see also Dkt. 144 at 32. Based

 6   on these potential impacts, the R&R correctly finds that vacating or enjoining the program would

 7   put the SRKWs at increased risk. Dkt. 144 at 34.

 8           Further bolstering the R&R’s conclusion, and of particular interest to the Amici, is that in
 9   addition to providing more salmon for SRKWs, the prey increase program is designed to offset
10   Treaty impacts from fisheries. See Dkt. 147 at 2 (citing 2019 BiOp at AR47508). The Treaty’s
11   fishery limits reflect an effort to “find an acceptable and effective distribution of harvest
12   opportunities and fishery constraints that, when combined with domestic fishery management
13   constraints, would be consistent with the fundamental conservation and sharing objectives of the
14   treaty.” Dkt. 43-1 at 200. The Treaty works to balance the interests of fisheries, protected species,
15   and the rights and obligations of impacted states, countries, and tribes. See id. at 200-01. The
16   mitigation actions, including the prey increase program, are part of an interdependent management
17   scheme that works to balance and achieve the Treaty’s objectives.
18           The R&R also correctly notes that vacatur of the prey increase program would impact

19   fisheries other than those in southeast Alaska because the program serves as an integral component

20   of the environmental baseline for other salmon fisheries operating off the West Coast and in Puget

21   Sound. Dkt. 144 at 32. Those fisheries rely on salmon production from the prey increase program

22   to stay above a Chinook salmon abundance threshold and limit potential fishery impacts on the

23   SRKW. Id. at 32-33. As noted in the 2019 BiOp, “[f]undamentally, all U.S. fisheries may be

24   affected by decisions made in the event that funding is not provided,” Dkt. 43-1 at 37, and granting

25   the relief Plaintiff seeks would “likely have cascading impacts to commercial and recreational

26   fisheries off the coast of Washington, in Puget Sound and other areas.” Dkt. 135 at 4. Vacating or


      Amici Br. of Alaska Cong. Delegation - 4
      No. 2:20-cv-00417-RAJ-MLP
                                                                           1050 Thomas Jefferson Street, NW
                                                                           Washington, DC 20007
                                                                           (202) 298-1800
                 Case 2:20-cv-00417-RAJ Document 162 Filed 03/13/23 Page 5 of 9




 1   enjoining the prey increase program would also have a significant impact on Tribes in Washington

 2   State because they operate most of the hatcheries receiving funding from the prey increase

 3   program. See, e.g., Dkt. 133-4 at 19. Because vacating or enjoining the prey increase program

 4   would undermine congressional objectives, substitute the Treaty’s negotiated policies, cause

 5   environmental harm to SRKWs, and disrupt ongoing domestic fisheries, this Court should decline

 6   to do so.

 7           B.      This Court Should Reject the Magistrate’s Vacatur of the ITS for the SEAK
                     Salmon Troll Fishery.
 8
             The recommendation in the R&R to vacate the ITS for the SEAK Chinook salmon troll
 9
     fishery misapplies the vacatur standards and fails to consider the Treaty’s role in managing the
10
     complex web of competing interests and fishery management challenges at issue. If this Court
11
     determines sufficient agency error in the ITS, the most appropriate judicial action is either remand
12
     without vacatur or vacatur held in abeyance pending resolution of any identified errors on remand.
13
             When determining whether to vacate an invalid agency action, this Court weighs “the
14
     seriousness of the agency’s errors against ‘the disruptive consequences of an interim change that
15
     may itself be changed.’” Ctr. for Food Safety v. Regan, 56 F.4th 648, 663 (9th Cir. 2022) (quoting
16
     Cal. Cmtys. Against Toxics v. EPA, 688 F.3d 989, 992 (9th Cir. 2012) (quoting Allied-Signal, Inc.
17
     v. U.S. Nuclear Regul. Comm’n, 988 F.2d 146, 150-51 (D.C. Cir. 1993) (remanding without
18
     vacatur due to unnecessary waste of already invested public resources and harm to agricultural
19
     industry))). Generally, when granting injunctive relief, “courts of equity should pay particular
20
     regard for the public consequences.” Weinberger v. Romero-Barcelo, 456 U.S. 305, 312 (1982).
21
     See also California Communities Against Toxics, 688 F.3d at 994 (vacatur unwarranted due to
22
     public need for completion of power plant, “economically disastrous” impact of stopping
23
     construction on plant, and fact that harms of proceeding were insignificant with mitigation).
24
     Seriousness is determined by considering “‘whether the agency would likely be able to offer better
25
     reasoning or whether by complying with procedural rules, it could adopt the same rule on remand,
26
     or whether such fundamental flaws in the agency’s decision make it unlikely that the same rule

      Amici Br. of Alaska Cong. Delegation - 5
      No. 2:20-cv-00417-RAJ-MLP
                                                                          1050 Thomas Jefferson Street, NW
                                                                          Washington, DC 20007
                                                                          (202) 298-1800
               Case 2:20-cv-00417-RAJ Document 162 Filed 03/13/23 Page 6 of 9




 1   would be adopted on remand.’” Ctr. for Food Safety, 56 F.4th at 663-64 (quoting Pollinator

 2   Stewardship Council v. EPA, 806 F.3d 520, 532 (9th Cir. 2015)).

 3           Contrary to the R&R, Dkt. 144 at 36, the Treaty, not the National Marine Fisheries Service

 4   (“NMFS”), sets SEAK Chinook salmon harvest limits, and one of the Treaty’s guiding principles

 5   is avoiding undue disruptions to fisheries. Dkt. 43-1 at 609. As described above, the prey increase

 6   program, which Congress has funded and which the R&R concludes is working, helps accomplish

 7   the Treaty’s objectives by mitigating against the already reduced fishing rights of the SEAK

 8   Chinook salmon troll fishery. See, e.g., Dkt. 43-4 at 13 (FY 2020 Spend Plan for treaty
 9   implementation). Yet, when considering the potential environmental harms that might arise from
10   leaving the ITS in place, the Magistrate Judge relied on incorrect calculations, Dkt. 148 at 10
11   (citing Dkt. 135 ¶ 15), and failed to balance or even mention the mitigating benefits of the prey
12   increase program. See Dkt. 144 at 26-30. If this Court takes that mitigation into account, the
13   environmental impact associated with not vacating the ITS is negligible. See Dkt. 133 at 11
14   (without prey increase program, SEAK fishery estimated to decrease SRKW Chinook salmon prey
15   by average of 0.5%-1.8%). The economic devastation the SEAK fishing communities would
16   experience and the public interests the Treaty aims to protect easily outweigh that negligible
17   environmental impact.
18           Weighing the seriousness of NMFS’s perceived errors, the R&R notes that violations

19   “undermin[ing] important congressional objectives of the underlying statute” are serious, Dkt. 144

20   at 26, and that NMFS’s “reliance on uncertain and indefinite mitigation measures to find no

21   jeopardy to the SRKW, and its failure to address the prey increase mitigation program”

22   undermined congressional objectives in the Endangered Species Act (“ESA”) and the National

23   Environmental Policy Act (“NEPA”). Id. at 26-27. This reasoning ignores that the Treaty controls

24   harvest limits for SEAK fisheries and that Congress has reviewed and still continues to fully fund

25   the prey increase program. The mitigation is no longer “uncertain and indefinite,” and neither is

26   Congress’s intent. On remand, the Treaty still controls, and the 2019 BiOp must reflect the Treaty’s


      Amici Br. of Alaska Cong. Delegation - 6
      No. 2:20-cv-00417-RAJ-MLP
                                                                          1050 Thomas Jefferson Street, NW
                                                                          Washington, DC 20007
                                                                          (202) 298-1800
                  Case 2:20-cv-00417-RAJ Document 162 Filed 03/13/23 Page 7 of 9




 1   harvest limits and include an ITS for the SEAK Chinook salmon troll fishery. While congressional

 2   objectives contained in ESA and NEPA deserve weight, those objectives are not in conflict with

 3   those of the Treaty and are appropriately considered here without the need for vacatur. 5 The greater

 4   concern, rather, is that vacatur would undermine Congress’s complementary objectives under the

 5   Treaty, which distinguishes this case from any other case on which the R&R relies, none of which

 6   involve treaties.

 7              The harm that vacatur would cause outweighs any deficiency in the ITS, because NMFS’s

 8   asserted violation has been largely remedied and the agency will, more likely than not, justify its
 9   decision on remand—this imbalance of detriment should prevent the use of vacatur. See Am. Water
10   Works Ass’n v. EPA, 40 F.3d 1266, 1273 (D.C. Cir. 1994). Evidence of this harm is well-
11   documented in the record, the R&R, and the briefing of the Defendant and Intervenor-Defendants.
12   Dkt. 144 at 30; Dkt. 149 at 8 (vacatur would result in an estimated $29 million annual loss in an
13   industry that employs hundreds of people); Dkt. 148 at 9; Dkt. 147 at 3, 11-12 (the economic
14   impacts of the remedy will be damning to an entire way of life that has existed for generations).
15   The R&R acknowledges this harm, then applies the vacatur factors in a way that conflicts with
16   both Ninth Circuit and persuasive precedent. The result is a remedy that undermines the objectives
17   of the Treaty and will devastate the troll fishing communities of SEAK.
18              Defendants cite decisions in which the Ninth Circuit, and courts therein, have remanded

19   without vacatur due to competing public interests. Dkt. 149 at 8-9. The application of remand

20   without vacatur as a remedy aligns with the approach of other circuits who use the same Allied-

21   Signal test. For instance, the D.C. Circuit found vacatur of an ITS unwarranted because it was

22   possible that on remand the agency would correct its error and reach the same result. Schafer &

23   Freeman Lakes Env’t Conservation Corp. v. FERC, 992 F.3d 1071, 1096 (D.C. Cir. 2021). Indeed,

24   courts commonly take such factors into account. See Cent. Me. Power Co. v. FERC, 252 F.3d 34,

25
     5
       For all hatcheries receiving funding through the prey increase program, “NMFS has completed ESA and NEPA
26   analyses or identified existing ESA and NEPA analyses which evaluate all of the effects” of hatchery salmon
     production. Dkt. 133 at 13.


         Amici Br. of Alaska Cong. Delegation - 7
         No. 2:20-cv-00417-RAJ-MLP
                                                                               1050 Thomas Jefferson Street, NW
                                                                               Washington, DC 20007
                                                                               (202) 298-1800
               Case 2:20-cv-00417-RAJ Document 162 Filed 03/13/23 Page 8 of 9




 1   48 (1st Cir. 2001) (no vacatur due to public interest in assuring power); Tex. Ass’n of Mfrs. v. U.S.

 2   Consumer Prod. Safety Comm’n, 989 F.3d 368, 389 (5th Cir. 2021) (“Remand, not vacatur, is

 3   generally appropriate when there is at least a serious possibility that the agency will be able to

 4   substantiate its decision given an opportunity to do so”) (citation omitted); Black Warrior

 5   Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs, 781 F.3d 1271, 1291 (11th Cir. 2015) (relevant

 6   consideration in vacatur analysis is impact of mitigation on extent and implications of the agency’s

 7   error); California Communities Against Toxics, 688 F.3d at 992; Oceana, Inc. v. Pritzker, 125 F.

 8   Supp. 3d 232, 255 (D.D.C. 2015) (remanding but declining to vacate a BiOp for seven
 9   fisheries); Pub. Emps. for Env’t Resp. v. Beaudreau, 25 F. Supp. 3d 67, 110-15 (D.D.C. 2014)

10   (declining to vacate BiOp and remanding the matter for issuance of an ITS).

11           Alternatively, this Court could remand and hold any vacatur in abeyance to avoid

12   disruptive consequences. Anacostia Riverkeeper, Inc. v. Wheeler, 404 F. Supp. 3d 160, 189

13   (D.D.C. 2019) (staying vacatur of flawed Clean Water Act pollution limits and citing cases with

14   similar stays); Indep. U.S. Tanker Owners Comm. v. Dole, 809 F.2d 847, 855 (D.C. Cir. 1987);

15   Ctr. for Biological Diversity v. Raimondo, No. 18-cv-112-JEB, 2022 WL 17039193, at *2 (D.D.C.

16   Nov. 17, 2022) (holding vacatur of BiOp in abeyance to “allow the federal lobster fishery some

17   stability to keep operating, while all stakeholders continue their shared work of implementing

18   corrective measures to secure the future of the right whale in the long term.”). Given this authority

19   and the significant harm that would result from vacatur of the ITS, this Court should remand

20   without vacatur or order that any vacatur be held in abeyance pending resolution of any remaining

21   errors on remand.

22                                               IV.   CONCLUSION
23           Based on the foregoing and arguments in the briefs of Defendant and Defendant-
24   Intervenors, this Court should remand without vacating or enjoining the prey increase program or
25   vacating the ITS for the SEAK salmon troll fishery.
26


      Amici Br. of Alaska Cong. Delegation - 8
      No. 2:20-cv-00417-RAJ-MLP
                                                                           1050 Thomas Jefferson Street, NW
                                                                           Washington, DC 20007
                                                                           (202) 298-1800
              Case 2:20-cv-00417-RAJ Document 162 Filed 03/13/23 Page 9 of 9




 1          DATED: The 13th day of March, 2023.

 2                                              VAN NESS FELDMAN LLP
 3                                              s/ Tyson Kade
                                                Tyson Kade, WSBA No. 37911
 4                                              1050 Thomas Jefferson Street, NW, 7th Floor
                                                Washington, DC 20007-3877
 5                                              T: 202-298-1800
                                                E: tck@vnf.com
 6
                                                s/ Charlene Koski
 7                                              Charlene Koski, WSBA No. 43178
                                                1191 Second Avenue, Suite 1800
 8                                              Seattle, WA 98101
                                                T: 206-623-9372
 9                                              E: cbk@vnf.com
10                                              Attorneys for Amici Curiae
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     Amici Br. of Alaska Cong. Delegation - 9
     No. 2:20-cv-00417-RAJ-MLP
                                                                       1050 Thomas Jefferson Street, NW
                                                                       Washington, DC 20007
                                                                       (202) 298-1800
